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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF NEW JERSEY

In Re:                                                 Case No.: 16-28431-JNP
                                                       Chapter: vchChapter
Jimmie D. Wooding                                      Judge:    Jerrold N. Poslusny Jr.


                        NOTICE OF PROPOSED ABANDONMENT

        DOUGLAS S. STANGER, Trustee, in this case proposes to abandon property of the estate
described below as being of inconsequential value. If you object to the abandonment, you must file a
written objection with the Clerk of the United States Bankruptcy Court and serve it on the party named
below not later than 7 days before the hearing date.

Address of the Clerk:

Clerk, US Bankruptcy court
401 Market Street
Camden, NJ 08102



If an objection is filed, a hearing will be held before the Honorable Jerrold N. Poslusny Jr. on February
28, 2017 at 10:00 a.m. at the United States Bankruptcy Court, Courtroom no. 4C. (Hearing date must
be at least 28 days from the date of this notice). If no objection is filed, the abandonment shall take
effect on entry by the clerk of a Certification of no Objection.

Description and value of property:
$97,000.00 27 Pennsylvania Avenue Coatesville, PA 19320




Liens on property:
$96,779.00 Nationstar Mortgage




Amount of Equity claimed as exempt:
0
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Objections must be served on, and requests for additional information directed to:


Name:            Douglas S. Stanger_________________________________________

Address:         646 Ocean Heights Avenue, Suite 103, Linwood, NJ 08221___________
Telephone No.    (609) 645-1881________________________________________________
